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IN THE UNITED STATES DISTRICT COURT 05 l S/
FOR THE WESTERN DISTRICT OF TENNESSEE l o `

EASTERN DIVISION “
DENNY E. WEST, )
)
Plaintiff, )
)

VS. ) No. 05-1166-T/An

)
MERCK & CO., INC., ET AL., )
)
Defendants. )

 

ORDER GRANTING MOTION TO STAY

 

Plaintiff Denny E. West filed this action in the Circuit Court of Madison County,
Tennessee, on May 18, 2005, against l\/lerck and Company, Inc., maker of the prescription
drug known as Vioxx. Plaintiff also named as defendants certain local Merck sales
representatives and pharmacists Merck removed the action to this Court on June 17, 2005,
on the basis of diversity of citizenship, contending that the non-diverse defendants were
fraudulently joined in an attempt to defeat diversity jurisdictionl

Also on June 17, 2005, Merck filed a motion to stay all further proceedings pending
a decision by the Judicial Panel on Multidistrict Litigation (“MDL Panel”) on Whether this
case should be transferred to the United States District Court for the Eastern District of

Louisiana as a “tag-along” action in MDL Proceeding No. 1657, In re Vioxx Product

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Liabilig Litigation. Plaintiff filed a motion to remand the action to state court on July 5,
2005.

The MDL Panel issued the first Transfer Order establishing MDL-1657 on February
16, 2005. In that order, the Panel stated:

The pendency of a motion to remand to state court is not a sufficient

basis to avoid inclusion in Section 1407 proceedings We note that motions

to remand in two actions, one action each in the District of Kansas and the

Eastern District of Missouri, as Well as in any other l\/IDL-1657 actions can be

presented to and decided by the transferee judge. See, e.g., fn re Ivy, 901 F.2d

7 (Zd Cir. 1990); fn re Prudential ]nsurance Company of America Sales

Practices Litigation, 170 F. Supp. 2d 1346, 1347-48 (J.P.M.L. 2001).
Transfer Order, at 2 (J.P.M.L. Feb. 16, 2005).

The pendency of transfer to the MDL proceeding does not limit the authority of this
Court to rule on the plaintiffs motion to remandl §e_§ JPML R. 1.5. The decision whether
to grant a stay is within the inherent power of the Court and is discretionary E Landis v.
North Am. Co., 299 U.S. 248, 254-55 (1936). Although some courts have opted to rule on

pending motions to remand prior to the MDL Panel’s decision on transfer, see, e.g., Kantner

v. Merck & Co. lnc., No. l:04CV2044-JDT-TAB, 2005 WL 277688 (S.D. Ind. Jan. 26,

 

2005), there are many more that have chosen to grant a stay, even if a motion to remand has
been filed. E.g., Anderson v. Merck & Co.. Inc., No. 4:05-cv-89 (E.D. Mo. Mar. l6, 2005);
McCrerev v. Merck & Co.q Inc., No. 04-cv-2576 (S.D. Cal. Mar. 2, 2005); Dixon v. Merck

& Co. lnc., No. 05-0121 (S.D. Tex. Feb. 23, 2005).

 

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There are several other VioXX cases already pending in this district, and possibly
thousands more in other districts. In many of those cases, the joinder of non-diverse
defendants is contested and motions to remand have been or will be filed. Thus, the
jurisdictional issues raised in this case are similar to those raised in other cases that have
been or will be transferred to the l\/lDL proceeding

The Court finds that having the jurisdictional issues decided in one proceeding will
promote judicial economy and conserve judicial resources In addition, the Court finds that
any prejudice to the plaintiff resulting from a stay would be minimal. However, in the
absence of a stay, the risk to Mercl< of duplicative motions and discovery is significant

F or the foregoing reasons, Merck’s motion to stay pending the MDL Panel’s transfer
decision is GRANTED. The motion to remand is deferred to the transferee court.

IT lS SO ORDERED.

WZ)M

D. TODD
ED STATES DISTRICT JUDGE

7 CM/,/ QM

DATE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
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Honorable J ames Todd
US DISTRICT COURT

